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                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT

Docket Number(s): ________________________________________                 _______________Caption [use short title]_____________________

Motion for: ______________________________________________

________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:

________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________

MOVING PARTY:_______________________________________ OPPOSING PARTY:____________________________________________

          ___Plaintiff                ___Defendant

          ___Appellant/Petitioner    ___Appellee/Respondent

MOVING ATTORNEY:___________________________________ OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
________________________________________________________ _______________________________________________________________

________________________________________________________ _______________________________________________________________

________________________________________________________ _______________________________________________________________

Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                          FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                         INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):      Has this request for relief been made below?          ___Yes ___No
        ___Yes ___No (explain):__________________________                Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                  Requested return date and explanation of emergency: ________________
                                                                         _____________________________________________________________
Opposing counsel’s position on motion:
                                                                         _____________________________________________________________
         ___Unopposed ___Opposed ___Don’t Know
                                                                         _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                         _____________________________________________________________
         ___Yes ___No ___Don’t Know


Is oral argument on motion requested?          ___Yes ___No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?          ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:

_________________________________ Date:__________________ Service by: ___CM/ECF ___Other [Attach proof of service]




Form T-1080 (rev.12-13)
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         NOS. 16-3945-CV(L), 17-1625 (CON), 17-1722 (CON)


                      In the United States Court of Appeals

                              For the Second Circuit


VIRGINIA L. GIUFFRE,
                                              Plaintiff-Appellee,

         v.

GHISLAINE MAXWELL,
                                              Defendant,

         v.

SHARON CHURCHER, JEFFREY EPSTEIN,
                               Respondents,

ALAN M . DERSHOWITZ,
MICHAEL CERNOVICH, dba CERNOVICH MEDIA,
                               Intervenors-Appellants.


 UNOPPOSED MOTION TO EXCEED PAGE LIMITS TO RESPOND TO
      TWO BRIEFS IN THREE CONSOLIDATED APPEALS


      Appellee Virginia L. Giuffre, by her counsel, hereby moves this Court for

permission to file a principal response brief of no more than 15,000 words in length

in these three consolidated appeals, for the following reasons:

      1. Ms. Giuffre is the only appellee in three consolidated appeals, Nos. 16-

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3945-CV(L), 17-1625(CON) and 17-1722(CON).                The issues involved in the

appeals are complicated and arise from a heavily-contested civil case in which the

district court’s docket includes more than 900 entries.

      2. Appellant Alan Dershowitz has filed an opening brief of 13,325 pages.

Appellant Michael Cernovich (d/b/a Cernovich Media) has filed an opening brief of

2,565 words. Thus, Ms. Giuffre must respond to opening briefs that, combined, total

15,890 words.

      3. The three consolidated appeals involve two different orders from the

district court. One of the orders involves Dershowitz alone, and the other order

involves Cernovich and Dershowitz. The two orders involve different procedural

postures, which the opening briefs for appellants have discussed at length.

      4. Ms. Giuffre has been working diligently to prepare her response brief and

to meet this Court’s normal 14,000 word-count limit. Her initial draft totaled more

than 16,500 words. Ms. Giuffre has shortened the draft to 15,000 words. However,

further reductions in the brief will mean that Ms. Giuffre is unable to effectively

respond to all of the arguments advanced either by Dershowitz and/or Cernovich.

      5. On November 17, 2017, Ms. Giuffre requested of the position of the parties

by email on her motion. Neither Dershowitz nor Cernovich has any objection, and

thus the motion is unopposed.

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      WHEREFORE, it is respectfully requested that this Court grant appellee

Virginia L. Giuffre’s motion to file a principal brief not exceeding 15,000 words.


Dated: November 17, 2017

       Salt Lake City, Utah


                                       /s/ Paul G. Cassell
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*
  This daytime business address is provided for contact purposes only and is not
intended to imply institutional support for this private representation.
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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 17, 2017, I caused the foregoing motion to

be submitted to the Court’s ECF system for service and filing, and the document was

thereby served upon counsel of record through that system.



                                      /s/ Paul G. Cassell
                                      PAUL G. CASSELL
